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                 EXHIBIT 11
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From: casseres@apple.com (David Casseres)
Subject: Re: AppleSearch Pros/Cons
Date: 1996/09/05
Message-ID: <casseres-0509960917440001@cassda.apple.com>#1/1
X-Deja-AN: 178686613
references: <clement-0309962205360001@ts7port27.port.net>
organization: Apple Computer, Inc.
newsgroups: comp.sys.mac.system


In article <clement-0309962205360001@ts7port27.port.net>,
clement@interport.net (Clement J. Galluccio) wrote:

> I am considering indexing legal documents in MS Word format so they can
> searched quickly for text strings. I saw a AppleSearch demo at MacWorld
> two or three years ago and it seemed to be more than capable. Any comments
> or alternatives?

AppleSearch is good.  You should be aware that it is designed to be a
client/server application, with an indexing/search engine running on a
server (which might also be a file server) and a number of clients
connecting via the local net to request searches.

You can instead run both the server application and the client on your own
machine, but then you need to have a good deal of RAM and hard disk space
as the server's footprint is fairly big.  If your system can handle it, it
works fine in this configuration.


David Casseres
Exclaimer: Hey!




https: II groups. google. com/group/comp. sys. mac. system/msg/cfl ffdb6403 c49fd? dmode=source&utoke ...




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From: clement@interport.net (Clement J. Galluccio)
Subject: Re: AppleSearch Pros/Cons
Date: 1996/09/05
Message-ID: <clement-0509961913220001@ts4port1.port.net>#1/1
X-Deja-AN: 178753468
references: <clement-0309962205360001@ts7port27.port.net> <casseres-0509960917440001
organization: Clement Communications
newsgroups: comp.sys.mac.system


In article <casseres-0509960917440001@cassda.apple.com>,
casseres@apple.com (David Casseres) wrote:

> AppleSearch is good.  You should be aware that it is designed to be a
> client/server application, with an indexing/search engine running on a
> server (which might also be a file server) and a number of clients
> connecting via the local net to request searches.
>
> You can instead run both the server application and the client on your own
> machine, but then you need to have a good deal of RAM and hard disk space
>as the server's footprint is fairly big.   If your system can handle it, it
> works fine in this configuration.
>
Thanks for the reply David. I am interested in setting up a WGServer to
run the AppleSearch server app with Now Up-to-Date/Contact 3.6, CE
QuickMail 3.6., and Global Village GlobalCenter 1.1 server apps. Q. Does
Apple offer a WGServer bundle containing AppleSearch, if not how much does
it cost to purchase AppleSearch stand alone, and how does the forthcoming
V-Twin search engine impact AppleSearch, i.e., I don't want to be
purchasing dead end technology. Thanks in advance, and if you don't have
the answers, is there a Web site you can point me to other than the
Product Info page where I can get this info.




https://groups.google.com/group/comp.sys.mac.system/msg/bc04768dla710922?dmode=source&uto ...




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Newsgroups: comp.sys.mac.apps
Path: nntp.gmd.de!news.rwth-aachen.de!news.rhrz.uni-bonn.de!news.uni-stuttgart.de!rz
From: rmbrow2@denitqm.ecte.uswc.uswest.com (bob brown)
Subject: Applesearch
Message-ID: <rmbrow2-230395114618@rmbrow2.ecte.uswc.uswest.com>
Followup-To: comp.sys.mac.apps
Sender: news@da_vinci.ecte.uswc.uswest.com (IT Netnews)
Nntp-Posting-Host: rmbrow2
Organization: US WEST Communications - Multimedia Marketing
Date: Thu, 23 Mar 1995 18:46:18 GMT
Lines: 16

Anyone had any experience using Applesearch? Does it do Boolean and other
complex searches? Can I use it to search more than one external drive at a
time using the same search parameters? (I want to daisy chain two drives
and search them both simultaneously.) Can I install it on my machine as
the host and search an external drive conected to my machine as a client?

I want to search for text in documents on my own internal drive. Are there
any other good search engines (that allow complex search parameters and are
fast) which are better than Microsoft Word's engine?

Post, but e-mail's preferred. Thanks!


Bob Brown
US WEST Communications
Multimedia Marketing




https://groups.google.com/group/comp.sys.mac.apps/msg/6a8880lb2340b56a?dmode=source&utoke...




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Path: nntp.gmd.de!dearn!blekulll!ccsdecl.ufsia.ac.be!reks.uia.ac.be!idefix.CS.kuleuv
 Belgium.EU.net!EU.net!howland.reston.ans.net!cs.utexas.edu!news.tamu.edu!news.utdal
From: mnh@bnr.ca (Mark Hume)
Newsgroups: comp.sys.mac.apps
Subject: Re: Applesearch
Date: Thu, 23 Mar 1995 16:04:00 -0500
Organization: Bell-Northern Research Ltd.
Lines: 40
Message-ID: <mnh-2303951604000001@bcarm5cc.ott.bnr.ca>
References: <rmbrow2-230395114618@rmbrow2.ecte.uswc.uswest.com>
NNTP-Posting-Host: bcarm5cc.bnr.ca

In article <rmbrow2-230395114618@rmbrow2.ecte.uswc.uswest.com>,
rmbrow2@denitqm.ecte.uswc.uswest.com (bob brown) wrote:

> Anyone had any experience using Applesearch? Does it do Boolean and other
> complex searches? Can I use it to search more than one external drive at a
> time using the same search parameters? (I want to daisy chain two drives
>and search them both simultaneously.) Can I install it on my machine as
> the host and search an external drive conected to my machine as a client?
>
> I want to search for text in documents on my own internal drive. Are there
> any other good search engines (that allow complex search parameters and are
>fast) which are better than Microsoft Word's engine ?
>
> Post, but e-mail's preferred. Thanks!
>
>
> Bob Brown
> US WEST Communications
> Multimedia Marketing

Hi,

AppleSearch supports boolean and other wildcard searches.

Using the supplied client, it will search any number of sources you
specify including WAIS servers.  The searches are actually performed and
the results returned to you one source at a time, so you can start
examining the result before the search is complete.

One restriction is that the sources all have to be local to the Server
machine (you can't mount an AppleShare volume on the server and search
it).  They can be on multiple drives though (hard disk and CDRROM - any
SCSI drive).

The server and client can be on the same machine.

Cheers, Mark Hume
Bell-Northern Research Ltd.

Standard Disclaimer




https://groups.google.com/group/comp.sys.mac.apps/msg/b776a536dc5293dc?dmode=source&utoke...




                                                                       SAMN DCA630-07216829
